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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 23-24903-CIV-ALTONAGA/Reid

 SECURITIES AND EXCHANGE
 COMMISSION,

         Plaintiff,
 v.

 RISHI KAPOOR; et al.,

       Defendants.
 _______________________________/

                                                ORDER

         THIS CAUSE came before the Court upon Defendant, Rishi Kapoor’s Motion to Extend

 the Asset Freeze and to Re-Schedule Show Cause Hearing [ECF No. 81], filed on February 22,

 2024. 1 On December 27, 2023, the Court issued a Sealed Order (“Asset Freeze”) [ECF No. 10]

 freezing Defendant’s assets and granting other requested relief. (See id. 2). On February 2, 2024,

 the Court issued an Order [ECF No. 66] extending the Asset Freeze and setting a hearing for

 February 28, 2024 to address the parties’ positions regarding the Asset Freeze. (See id. 1–2).

 Kapoor now seeks to continue the show cause hearing by thirty days and extend the Asset Freeze

 accordingly. (See generally Mot.). Being fully advised, it is

         ORDERED that the Motion [ECF No. 81] is GRANTED. The February 28, 2024 hearing

 is rescheduled to March 25, 2024, at 9:00 a.m. in the United States Courthouse located at 400

 North Miami Avenue, Courtroom 13-3, Miami, Florida 33128. One hour has been reserved for




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  The Receiver, Bernice Lee, and Plaintiff, Securities and Exchange Commission, represent they have no
 objection to the Court continuing the show cause hearing but object to Defendant’s representations as to
 document production and substantive matters of the Asset Freeze in the Motion. (See Receiver’s Resp.
 [ECF No. 82] 1–2; Pl.’s Resp. [ECF No. 83] 1).
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 the hearing; if more time is required, the parties are to advise the Courtroom Deputy by no later

 than March 11, 2024. The Asset Freeze [ECF No. 10] remains in effect.

        DONE AND ORDERED in Miami, Florida, this 23rd day of February, 2024.



                                               _______________________________________
                                               CECILIA M. ALTONAGA
                                               CHIEF UNITED STATES DISTRICT JUDGE

 cc:    counsel of record




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